             Case 2:17-cr-00003-RAJ                 Document 34    Filed 03/30/17     Page 1 of 2




 1                                                                     JUDGE RICHARD A. JONES
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 5
                                UNITED STATES DISTRICT COURT
 6
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8
     UNITED STATES OF AMERICA,                            )   No. CR17-003-RAJ
 9                                                        )
                      Plaintiff,                          )
10                                                        )   ORDER GRANTING UNOPPOSED
                 v.                                       )   MOTION TO CONTINUE TRIAL AND
11                                                        )   PRETRIAL MOTIONS DATES
     LUIS VENANCIO CUETO-RUIZ and                         )
12   LEONARDO MATEO CUETO-RUIZ,                           )
                                                          )
13                    Defendants.                         )
14          THE COURT has considered the unopposed motion of the defendants to

15   continue the trial date and pretrial motions deadline and finds that:

16          (a) taking into account the exercise of due diligence, a failure to grant a

17   continuance in this case would deny counsel for the defendants the reasonable time

18   necessary for effective preparation due to counsels’ need for more time to review the

19   evidence, consider possible defenses, and gather evidence material to the defense, as set

20   forth in 18 U.S.C. § 3161(h)(7)(B)(iv); and

21          (b) a failure to grant such a continuance in this proceeding would likely result in

22   a miscarriage of justice, as set forth in 18 U.S.C. § 3161(h)(7)(B)(i); and

23          (c) the additional time requested is a reasonable period of delay, as the

24   defendants have requested more time to prepare for trial, to investigate the matter, to

25   gather evidence material to the defense, and to consider possible defenses; and

26

       ORDER GRANTING UNOPPOSED                                         FEDERAL PUBLIC DEFENDER
       MOTION TO CONTINUE TRIAL AND                                        1601 Fifth Avenue, Suite 700
       PRETRIAL MOTIONS DUE DATE                                             Seattle, Washington 98101
       (Luis Cueto-Ruiz, et al, CR17-003-RAJ) - 1                                       (206) 553-1100
             Case 2:17-cr-00003-RAJ                 Document 34   Filed 03/30/17     Page 2 of 2




 1          (d) the ends of justice will best be served by a continuance, and the ends of
 2   justice outweigh the best interests of the public and the defendants in any speedier trial,
 3   as set forth in 18 U.S.C. § 3161(h)(7)(A); and
 4          (e) the additional time requested between the current trial date of May 1, 2017,
 5   and the new trial date is necessary to provide counsel for the defendants the reasonable
 6   time necessary to prepare for trial, considering counsels’ schedules and all of the facts
 7   set forth above.
 8          IT IS THEREFORE ORDERED that Defendants’ unopposed motion (Dkt. #31)
 9   is GRANTED. The trial date in this matter shall be continued to August 14, 2017.
10          IT IS FURTHER ORDERED that the period of delay from the date of this order
11   to the new trial date of August 14, 2017, is excludable time pursuant to 18 U.S.C. §§
12   3161(h)(7)(A) and (h)(7)(B)(iv).
13          IT IS FURTHER ORDERED that all pretrial motions, including motions in
14   limine, shall be filed no later than July 17, 2017.
15          DATED this 30th day of March, 2017.
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                                                             A
                                                             The Honorable Richard A. Jones
18                                                           United States District Judge
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       ORDER GRANTING UNOPPOSED                                        FEDERAL PUBLIC DEFENDER
       MOTION TO CONTINUE TRIAL AND                                       1601 Fifth Avenue, Suite 700
       PRETRIAL MOTIONS DUE DATE                                            Seattle, Washington 98101
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